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UNITED ST ATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 WHEELER,

                               Plaintiff,                          16 Civ. 7440 (LMS)

                - against-                                   WRIT OF HABEAS CORPUS
                                                               AD TESTIFICANDUM

 ARTOLA, ct al.,


                               Defendants.



                       THE PRESIDENT OF THE UNITED STATES

TO:            Warden of FCI Loretto, 772 Saint Joseph Street, Loretto, Pennsylvania
               15940 or I Iis Assistant;
                                             and

               THE FEDERAL BUREAU OF PRISONS;
                                     and

               THE UNITED STATES MARSHAL, Charles L. Brieant, Jr. Federal Building and
               United States Courthouse, 300 Quarropas Street, White Plains, New York 10601
               or His Assistant.

GREETINGS:

         We command that the Warden of FCI Loretto shall have the body of DAMON
WHEELER 78063-054, who is now incarcerated at the Federal Correctional Institution Loretto
in the custody of the Bureau of Prisons, brought under safe and secure conduct to the Charles L.
Brieant, Jr. Federal Building and United States Courthouse, 300 Quarropas Street, White Plains,
New York, on Monday, July 8, 2019, at tO:OOAM, for a trial before United States Magistrate
Judge I ,isa Margaret Smith; and that DAMON WHEELER shall be allowed to have his legal
papers and things transported with him for purposes of the trial; and that the UNITED STA TES
MARSHAL shall provide such suitable quarters and provide for the safekeeping, care, and
subsistence of DAMON WHEELER as is necessary until the conclusion of the trial on this
matter; and, thereafter, upon conclusion of this trial by the Court, that the UNITED ST A TES
MARSHAL shall return DAMON WHEELER under safe and secure custody to FCI Loretto; and
that the FEDERAL BUREAU OF PRISONS and THE UNITED STATES MARSHAL shall
each bear their respective costs of implementation of the terms of this writ. It is further
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        ORDERED, that the UNITED STATES MARSHAL shall provide all necessary security
for the custody of DAMON WHEELER as long as DAMON WHEELER is in the temporary
custody of the Court.

       WITNESS the Honorable Colleen McMahon, Chief Judge of the United States District
Court of the Southern District of New York, at the United States Courthouse, 500 Pearl Street,
New York, New York, this 3rd day of April 2019.




The within writ is hereby allowed.
